






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-222 CR


____________________



ROLAND JOSEPH ANGELLE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court 


Jefferson County, Texas


Trial Cause No. 87053






MEMORANDUM OPINION


	We have before the Court a motion from the appellant, Roland Joseph Angelle, to
withdraw his appeal.  See Tex. R. App. P. 42.2.  A request to dismiss the appeal is signed
by appellant personally and by counsel of record.  No opinion has issued in this appeal. 
The motion is granted, and the appeal is therefore dismissed.

	APPEAL DISMISSED.

                                                                 __________________________________

                                                                                             CHARLES KREGER

                                                                                                        Justice

Opinion Delivered June 20, 2007

Do not publish

Before McKeithen, C.J., Kreger and Horton, JJ.


